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    VIA ECF
    The Honorable Robert W. Lehrburger
    United States District Court
    Southern District of New York
    500 Pearl Street, Courtroom 18D
    New York, New York 10007

                       Re:        Hess and Padilla v. Bed Bath & Beyond. Inc.
                                  Index No. 1:21-cv-4099-AT

    Dear Judge Lehrburger:

           We represent Defendant Bed Bath & Beyond Inc. (“Bed Bath & Beyond”) in the referenced
    matter. We write pursuant to Your Honor’s Individual Practices III(D) in opposition to Plaintiffs’
    request to: (1) move to further amend the Second Amended Complaint (“SAC”); and (2)
    consolidate briefing on Plaintiffs’ motion to amend and Defendants’ expected motion to dismiss.1

                          RELEVANT FACTUAL AND PROCEDURAL HISTORY

           Plaintiffs filed their original Complaint on May 7, 2021. On November 4, 2021, Defendant
    moved to dismiss the First Amended Complaint (“FAC”) 2 on the grounds that Plaintiffs’ New
    York Labor Law (“NYLL”) § 191 claim was deficient as a matter of law because Plaintiffs lack
    standing pursuant to Article III, and that NYLL § 191 does not provide for a private right of action.

            On November 30, 2021, with the Court’s approval, Plaintiffs amended the FAC solely to
    plead a temporal expansion of the statute of limitations based on a discrete tolling argument.3
    Explaining the basis for the purposeful limited amendment and that Plaintiffs were not seeking to
    change the class definition, Steven J. Moser, Esq., counsel for Plaintiffs, specifically stated: “we
    believe that most of the other classifications at the store level are manual workers. I mean they’re
    retail workers who had to stock merchandise all day long. But it, to be conservative in the case we
    did not want to stretch outside the job, outside the job categories of the individuals that we

    1
      Defendant had briefed and was prepared to file a motion to dismiss the SAC when Plaintiffs notified the Court that
    they intended to move to further amend their pleadings.
    2
     Plaintiffs voluntarily amended the Complaint and filed the FAC to address the same deficiencies related to standing
    and private right of action arguments, pursuant to a meet and confer with Defendant.


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represent.” November 30, 2021 Tr. 28:22-29:4. Nearly five months later, however, Mr. Moser
now proposes to amend the SAC to, in part, redefine the class to include nearly every store
employee, regardless of their job titles or duties, in all locations in the state of New York.

        In addition, Plaintiffs propose to add a new claim for improper wage notices under NYLL
§ 195, including for Mr. Hess, who has been a named plaintiff since May 2021 when the Complaint
was originally filed. Most confounding, however, is the proposed Third Amended Complaint
(“TAC”) alleges that newly added named Plaintiff Tamika Jones’ wage notice is improper because
she did not sign or date it; however, the copy of Plaintiff Jones’ wage notice that Defendant
provided to Mr. Moser (before he filed the TAC) clearly reflects Plaintiff Jones’ signature and
handwritten date. Defendant contacted Mr. Moser by email to inquire of this erroneous allegation.
Mr. Moser never responded.

                                              LEGAL STANDARD

        A party may not amend a pleading where there is a showing of bad faith or prejudice, see
Block v. First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993). . . .“or [where] the proposed
amendment is futile.” Hadassah Acad. Coll. v. Hadassah Women's Zionist Org. of Am., Inc., No.
18 CIV. 2446 (AT), 2019 WL 1897668, at *4 (S.D.N.Y. Apr. 29, 2019) (J. Torres)(denying leave
to amend where amendment would be futile because proposed complaint failed to allege “new
facts such that it now has standing”). “However, ‘the longer the period of an unexplained delay,
the less will be required of the nonmoving party in terms of a showing of prejudice.’” Block, 988
F.2d at 350. “In determining what constitutes “prejudice,” we consider whether the assertion of
the new claim would: (i) require the opponent to expend significant additional resources to conduct
discovery and prepare for trial; (ii) significantly delay the resolution of the dispute; or (iii) prevent
the plaintiff from bringing a timely action in another jurisdiction.” Id.

      PLAINTIFFS SHOULD NOT BE PERMITTED TO MOVE TO AMEND THE SAC
             BECAUSE OF FUTILITY AND THEIR BAD FAITH TACTICS

        Plaintiffs have demonstrated bad faith by repeatedly amending the complaint (most
recently attempting a fourth iteration in the proposed TAC) since this litigation commenced nearly
one year ago, which have all failed to address the fundamental pleading deficiencies previously
identified by Defendant. Nor have they addressed how their claims for 100% liquidated damages
comport with the Due Process considerations involving excessive fines under the Eighth
Amendment as the imposition of statutory penalties in amounts that are “wholly disproportioned
to the” harm claimed by a Plaintiffs. St. Louis, I.M. & S. Ry. Co. v. Williams, 241 U.S. 63, 66-67
(1919). Plaintiffs’ NYLL § 195(1) claim is also flawed on standing grounds. “Technical statutory
violations that do not lead ‘to either a tangible injury or something akin to a traditional cause of
action’ cannot sustain Article III standing in federal court.” Sevilla v. House of Salads One LLC,
No. 20CV6072PKCCLP, 2022 WL 954740, at *7 (E.D.N.Y. Mar. 30, 2022) (citations omitted)
(dismissing NYLL § 195(3) claim).4


4
    Defendant provided a copy of this decision to Plaintiffs along with the applicable wage notices on 4/13/22.


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        In addition to the futility of the proposed amendments, the proposed TAC reflects
Plaintiffs’ improper attempts to expand the size and scope of this lawsuit. For example, Defendant
was alerted by employees of the Company that numerous other employees were being targeted
with sponsored solicitations on Facebook in the form of newspaper-styled headlines, such as
“Employees Sue Bed Bath & Beyond for Delayed Wages,” without disclosing that this sponsored
post was in fact attorney advertising. Mr. Moser then proceeded to barrage current and former
Bed Bath & Beyond employees with text messages soliciting their participation in the lawsuit, but
not ostensibly as fact witnesses or to investigate Plaintiffs’ claims, but rather to solicit them as
putative named plaintiffs. The social media and text message solicitations referred Bed Bath &
Beyond employees to the Moser Law Firm website, which encouraged putative plaintiffs to contact
Mr. Moser wherein images of Bed Bath & Beyond’s trademarked logos, storefronts and employees
were displayed without Defendant’s permission.5 Rather than diligently pursuing their pending
NYLL § 191 claim in the SAC, Plaintiffs have been attempting to improperly recruit additional
named plaintiffs to support a new improper wage notice claim.

       In addition, Plaintiffs’ attempt to expand the class definition in the proposed TAC
contradicts and disregards Mr. Moser’s earlier representation to the Court in the Parties’ November
30, 2021 conference where he indicated that Plaintiffs were purposely not pursuing a class more
expansive than the job titles or positions of the Named Plaintiffs.6 For all of the foregoing reasons,
the Court should deny Plaintiffs’ request to move to amend the SAC.

         Lastly, Plaintiffs’ request to consolidate briefing on their motion to amend the SAC and
Defendant’s expected motion to dismiss should be denied. Defendant has already briefed a motion
to dismiss (twice) and should be afforded the opportunity to separately brief its motion to dismiss
on myriad complex substantive and procedural grounds. While certain of Defendant’s arguments
regarding futility will draw upon the dispositive deficiencies in Plaintiffs’ claims, Plaintiffs’
amendments should first and foremost be disallowed on account of Plaintiffs’ improper litigation
tactics, which will unduly prejudice Defendant. In addition, Judge Torres’s rules on page limits
prevent Defendant from being able to adequately address all of the arguments in an omnibus brief.7

                                                                 Respectfully submitted,

                                                                 /s/ Jeffrey H. Ruzal

cc:      Steven Moser, Esq. (via ECF)                            Jeffrey H. Ruzal


5
  On February 10, 2022, Bed Bath & Beyond issued a letter to Mr. Moser directing him to cease Plaintiffs’ improper
solicitations. In response, Mr. Moser made certain modifications to their website and Facebook page to remove
misleading Bed Bath & Beyond trademarks, but he has continued to use images of the Bed Bath & Beyond stores (and
trademarks displayed therein) on his firm’s website without permission.
6
  Further, Plaintiffs have not articulated how they will be able to represent a class of employees of disparate job titles
in the absence of a named class representative for each such position, including non-exempt supervisory employees..
7
 Defendant previously requested an enlargement of the page limits in its brief in support of the motion to dismiss the
SAC, and that request was denied.


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